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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------x
CHEVRON CORPORATION,

                            Plaintiff,


              -against-                                           11 Civ. 0691 (LAK)


STEVEN DONZIGER, et al.,

                     Defendants.
------------------------------------------x



                               APPENDICES TO OPINION



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                         Appendix I – The LAP Internal Work Product
                       Found in the Judgment Was Not in the Court Record


               In order to determine whether LAP internal work product was contained in the Lago

Agrio case record, we must begin by defining the record, which involves consideration both of

Ecuadorian law and of evidence.



I.      The Record in the Lago Agrio Case

        A.     The Official Record

               Chevron and the defendants provided expert submissions under Federal Rule of Civil

Procedure 44.1 on what constitutes the official record of a case under Ecuadorian law. Both parties’

experts agreed that Ecuadorian law clearly defines what makes up the record, but they differed on

whether and when a judge may consider anything outside of it.

               Chevron’s expert, Dr. Santiago Efraín Velázquez Coello explained that parties in

Ecuador may submit materials to the court only by presenting them for filing in the official record.

He cited two provisions of Ecuadorian law to support his conclusion:

               “in Ecuador, any documents must be added to the record according to the law;
               otherwise, the judge cannot consider them at the time of his decision. So states
               Article 117 of the Code of Civil Procedure, which indicates, ‘[o]nly evidence that
               has been properly taken i.e., that has been requested, presented and obtained in
               accordance with the law will be valid in court.’ Article 2 of the Regulation on the
               Arrangement of the Process and Judicial Proceedings states: ‘Chronology of the
               record.- Submissions and documents that the parties file will be added to the record
               chronologically. [Nonparty] case documents will be added the same way. Each page
               must be numbered with digits and longhand, and the clerk shall validate this with his
               initials.’ Only by proceeding as indicated is it legally possible to introduce
               documents and materials into a case in Ecuador and, therefore, the documents that
               are presented to the judge in violation of these rules have no legal value and the


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                 judge cannot consider them in his judgment.”1

                 Defendants’ expert, Juan Pablo Albán Alencastro, acknowledged that “[u]nder

Ecuadorian law if a document has not been formally incorporated into the case in accordance with

the provisions of Regulation on the Settlement Process and Judicial Proceedings of June 19, 1981

. . . [it] is not part of the record.”2

                 Thus, the record in the Lago Agrio case consists of the submissions and documents

that the parties filed, the pages of which were numbered, initialed by the clerk, and added

chronologically to the cuerpos – booklets or files of about 100 pages.3



        B.       The Lago Agrio Court Was Obliged to Decide Based Solely on Materials In the
                 Record

                 The parties made submissions also on whether an Ecuadorian trial judge properly

may consider documents and evidence that is not part of the record.

                 Dr. Velázquez stated that the court may consider only materials that are included in

the formal record and facts that are “public and well-known” – a concept akin to facts that would

be subject to judicial notice in the United States.4 In addition, judges research case law and legal

scholarship, but “[w]hat is not permitted to the judge is to consider information or evidence that does


        1

                 DI 1751-1 (Velázquez Decl.), Ex. A at 2.
        2

                 DI 1702-1 (Albán Decl.) ¶ 31.
        3

                 Tr. (Zambrano) 1720:3-5.
        4

                 DI 1751-1 (Velázquez Decl.), Ex. A at 1-2.

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not appear in the record and to use that as a basis for his judgment, erroneously claiming their public

and well known nature.”5

                Dr. Albán took a slightly different position. He said that “[i]t is not unusual . . . that

in high-profile cases, the parties and even third parties not directly involved in the dispute, try to

emphasize their positions and views on the trial in various ways, the media exposure of the details

of the case is the most common form, but the anonymous sending of documents also occurs in an

attempt to convince the authority responsible for the processing and decision of the case on the

legitimacy or importance of a given argument.”6 He stated that “Article 335 of the Organic Code

of the Judiciary . . . which establishes prohibitions for lawyers in the representation of cases, says

nothing about these informal remissions of documentation.”7 He did not say, however, that

consideration of such documents would be appropriate.

               Dr. Velázquez responded that the alleged practice adverted to by Dr. Albán “has

never been a normal practice” in Ecuador8 and that it would “be contrary to express provisions of

Ecuadorian law. . . . [I]f this were a common practice in Ecuador it would have no relevance

whatsoever to the present analysis, as a custom is not law unless statute expressly says so.”9



       5

               Id. at 2.
       6

               DI 1702-1 (Albán Decl.) ¶ 32.
       7

               Id. ¶ 33.
       8

               DI 1751-1 (Velázquez Decl.), at 2.
       9

               Id.

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                Dr. Velázquez’s view found support in the testimony of Zambrano, who said that “the

official record of the case is that which is contained in the cuerpos.”10 Moreover, Zambrano stated

that he decided the Lago Agrio case11 “[a]ccording to the evidence that is part of the record. . . .”12

Finally, he testified that, while documents related to the case that were not incorporated into the

court record occasionally were left at the door of his office in the court,13 he “always matched [those

documents] up with what already existed in the [record of the] case.”14 If the documents were

different from what was in the record, he discarded them because they were not “useful” to him.15

Thus, according to Zambrano, he considered only documents that were contained within the formal

court record – that is, officially filed by the parties and added by the clerk to the cuerpos – in writing

the Judgment.




        10

                Tr. (Zambrano) 1693:18-23.
        11

                That of course is a hotly contested issue, but Zambrano’s testimony as to what materials
                properly could have been considered in deciding the case nonetheless has value, particularly
                as the thrust of his testimony was that everything was done with utter propriety.
        12

                Id. 1608:21-22.
        13

                Id. 1691:10-14.
        14

                Id. 1692:25-1693:3.
        15

                Id. 1694:13-25.

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         C.    This Court’s Conclusions and Findings

               The Court concludes and finds that the record in the Lago Agrio case consists of the

documents duly filed with the clerk and added to the cuerpos. Consideration of any other materials,

including any materials provided to a judge or court official informally or ex parte, would have been

improper under Ecuadorian law.16



II.      Chevron’s Experts’ Examination of the Record and the LAP Internal Work Product to
         Identify Commonalities

               Dr. Robert Leonard – a professor of forensic linguistics – compared the Lago Agrio

Judgment17 to documents Chevron received from the defendants in discovery (the “LAPs’ internal

work product”) to determine whether the “[]Ecuadorian Judgment[] and the Ecuadorian Plaintiffs’

unfiled work product contain[ed] matching or similar word strings and strings of symbols whose

presence [was] not explainable either as set phrases or by chance. . . .”18 In other words, Dr. Leonard

was retained to determine whether the LAPs’ internal work product had appeared in the Judgment.

               Dr. Leonard analyzed the Ecuadorian Judgment “to determine whether it was

‘plagiarized’ in whole or in part from the Ecuadorian Plaintiffs’ unfiled work product”19 – that is,

whether it contains material taken from LAPs’ work product that was not part of the record in the

         16

               To the extent the Court has made a determination of Ecuadorian law, its conclusion is one
               of law. FED. R. CIV. P. 44.1.
         17

               PX 399 (Lago Agrio Judgment (Spanish)).
         18

               PX 3700 (Leonard Direct) ¶ 3.
         19

               Id. ¶ 34.

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Lago Agrio case. Three computational experts, working under his direction, “perform[ed] searches

. . . comparing the Ecuadorian Judgment to documents which [Dr. Leonard understood] were

produced by the Ecuadorian Plaintiffs’ consultants, lawyers, or affiliates.”20 Using results from

those searches, Dr. Leonard identified a number of documents obtained in discovery “as having

potential plagiaristic overlap to the Ecuadorian court record so as to evaluate whether or not the

overlap was attributable to a filed [i.e., record] document.”21 He concluded:

               “that portions of the Ecuadorian Judgment and the Ecuadorian Plaintiffs’ unfiled
               work product contain matching or similar word strings and strings of symbols whose
               presence is not explainable either as set phrases or by chance, and that those portions
               of the Ecuadorian Judgment [were] therefore plagiarized from Plaintiffs’ unfiled
               work product.”22

Specifically, he found at least 32 matches between the Judgment and six of the LAPs’ unfiled,

internal work product documents and concluded that the parts of the Judgment containing these

matches likely “had their origin in the Ecuadorian Plaintiffs’ unfiled work product.”23 The six

documents, parts of which appear in the Judgment, are the Fusion Memo,24 the January and June




       20

               Id. ¶ 35.
       21

               Id. ¶ 36.
       22

               Id. ¶ 37.
       23

               Id. ¶ 38.
       24

               PX 435 (Fusion Memo).

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Index Summaries,25 the Fajardo Trust Email,26 the Draft Alegato,27 and the Clapp Report.28

               Dr. Patrick Juola, who worked in conjunction with Dr. Leonard, then compared each

of these six documents as well as the Selva Viva Database, a group of spreadsheets,29 to the entire

Lago Agrio record to determine whether each document’s text appeared anywhere within the

record.30 Dr. Juola converted each of the 236,000 pages of the Lago Agrio record to OCR,31 text-

searchable documents.32 He then broke the entire record into groups of five consecutive words and

did the same with each of the LAPs’ unfiled internal work product documents.33 Dr. Juola was


       25

               PX 433 (January 2007 Index Summary); PX 865 (June 2007 Index Summary).
       26

               PX 437 (Fajardo Trust Email).
       27

               PX 438 (Draft Alegato).
       28

               PX 928 (Clapp Report).
       29

               PX 439-441 (Selva Viva Database).
       30

               PX 3800 (Juola Direct) ¶ 27.
       31

               Id. ¶ 29. OCR “is a process by which hard copies are scanned and processed to create
               electronic files that can be viewed on the computer.” Dr. Juola explained that “OCR stands
               for optical character recognition. It’s the process of taking an image which is – if you think
               about how a newspaper photo is constructed it’s essentially a collection of black dots or
               white dots, and from that black or white dots, extracting the text, the characters that would
               actually comprise the language inside that document.” Tr. (Juola) 1544:17-22. Dr. Juola
               concluded that the overall scanning quality of the Lago Agrio record was high, and that no
               more than 1-1.5% of the documents in the court record were unsearchable. PX 3800 (Juola
               Direct) ¶ 32. His team analyzed each of the unsearchable documents by hand. Id. ¶ 33.
       32

               PX 3800 (Juola Direct) ¶ 17.
       33

               Id. ¶¶ 18-21.

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provided also with every specific linguistic overlap Dr. Leonard found between the LAPs’ internal

work product and the Judgment (the “overlap examples”).34 He broke the overlap examples into five

word groups as well. Dr. Juola then used computer software to identify any five word group in the

overlap examples that matched any five word group in the Lago Agrio court record.35 He ran the

same analyses for overlaps between the LAPs’ internal work product documents and the Judgment.36

“Based on [those] comparisons, [Dr. Juola was] able to find any documents in the court record that

contained an exact match . . . of at least five words with one of the [overlap e]xamples.”37

               For each match the computer identified, Juola “first verified the match by visually

comparing the matching phrase and the corresponding part of the court record. [H]e then checked

whether the match was a direct quotation. Finally, [h]e analyzed the match to determine whether

it was a common or stereotyped phrase, judging partially on the phrase’s frequency and distribution

across documents and partially on [his] understanding of the phrase’s meaning.”38 He excluded

from his results common five-word phrases, such as “en el Ecuador como una.”39 He concluded that

“the Fusion Memo, the Clapp Report, the Index Summaries, the Fajardo Trust email, the Draft


       34

               Id. ¶ 21.
       35

               Id. ¶ 22.
       36

               Id. ¶ 27.
       37

               Id. ¶ 23.
       38

               Id. ¶ 24.
       39

               Id. ¶ 25.

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Alegato, and the Selva Viva Data Compilation [we]re not in the trial court record.”40

               Dr. Juola and his team used computers to compare the Lago Agrio record to the

LAPs’ internal work product. The next Chevron expert, Samuel Hernandez, the director of

Morningside Translations, did so by hand.41

               Hernandez and his team of bilingual reviewers were given the Fusion Memo,

excerpted portions of the January and June Index Summaries, the Fajardo Trust email, the Moodie

Memo,42 and the LAPs’ Draft Alegato,43 as well as excerpts from each document.44 They compared

each document to every document in the Lago Agrio record that had been filed by the LAPs or a

third party, as well as every document in the Lago Agrio record that had been filed by Chevron after

the date on which Chevron first received documents from the LAPs in discovery proceedings in the

United States.45 Hernandez’s team reviewed the documents in three stages – any overlap identified




       40

               Id. ¶¶ 3, 27, 37.
       41

               PX 3900 (Hernandez Direct) ¶¶ 23-27.
       42

               PX 1101 (Moodie Memo).
       43

               PX 2167 (LAPs’ Draft Alegato).
       44

               The excerpts contained the word strings or phrases that overlapped with the Judgment.
       45

               PX 3900 (Hernandez Direct) ¶¶ 12-22. For the Moodie Memo and draft alegato,
               Hernandez and his team compared the documents and excerpts of them to (1) all documents
               in the Lago Agrio record filed by the LAPs or any third party after the date upon which the
               Moodie Memo and draft alegato was created, and (2) all documents in the Lago Agrio
               record filed by Chevron after the date on which Chevron first received documents from the
               LAPs in U.S. discovery proceedings. Id. ¶¶ 16-22.

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in the first stage then was reviewed again in the second, and again in the third.46 At the second stage,

reviewers were informed that “the name of a person, the name of a place, and one word or two

unconnected words were not, by themselves, enough for a document to be considered potentially

responsive.”47 At the third stage of review, any documents that “contained only general topical

similarities, without any close relationship between the actual text of the document in the . . . Record

and the actual text of” the LAPs’ internal work product were excluded.48

               The Court finds that the methodologies used by the Chevron experts were reliable

and admissible, credits their testimony, and adopts their findings.




       46

               Id. ¶¶ 23-24.
       47

               Id. ¶ 25.
       48

               Id. ¶ 26.

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          Appendix II – Portions of Fusion Memo, Draft Alegato, Index
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                Appendix III – The Cabrera Report Was Material to the Judgment


               Donziger contended at trial that the Cabrera events – the coercion of Judge Yánez,

the inducement of Cabrera to work for the LAPs, the ghostwriting of the Cabrera Report, and the

misrepresentation to the Lago Agrio court and others of Cabrera’s relationship with the LAPs and

his purported independence – were not material to the Judgment49 because the Judgment said that

it did not consider the Cabrera Report in reaching the decision.50 This argument fails. The

Judgment itself establishes that its professed disclaimer was not accurate.

               To be sure, the Judgment states that it did not take the Cabrera Report “into account

to issue [the] verdict.”51 The Court has concluded elsewhere that this disclaimer statement,

including its repetition by the appellate courts, is inadmissible hearsay.52 Even if it were admissible,

however, it would be no more than some evidence on that point.

               Chevron has pointed to evidence suggesting that the Judgment in fact relied upon the

Cabrera Report – either directly or indirectly – in four distinct ways: (1) to determine the number

of waste pits, which was an essential input on which more than half of the $8.646 billion damage

award rests; (2) to calculate potable water damages; (3) by relying on reports of the cleansing

experts, which in turn relied upon the Cabrera Report (hence the defendants’ use of the term

“cleansing experts”); and (4) to determine the eight categories of damages for which Cabrera

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               Tr. (summation) 2880:7-13.
       50

               Id.
       51

               PX 400 (Lago Agrio Judgment), at 51.
       52

               See supra Facts § VII.A.

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recommended monetary awards against Chevron.

                Having considered the evidence, the Court finds that Chevron proved the most

important, but not all, of these contentions.



I.      The Pit Count

                The largest single component of the $8.646 billion award against Chevron was the

$5.4 billion award for remediation of soil at waste pits. The Judgment purported to explain that

figure by (a) finding that there were 880 waste pits in the Concession area, then (b) multiplying 880

by an assumed amount of soil per pit requiring remediation, and (c) multiplying the product of those

figures by a cost per unit of soil to be remediated.53 Thus, the $5.4 billion figure is a linear function

of the pit count as well as assumptions as to pit size and depth. To put it in the clearest terms, an

overstatement of the pit count by 10 percent would have increased the amount of the judgment by

about $540 million. Chevron contends that the critical count of 880 pits comes only from the

Cabrera Report.54

        53

                The Judgment stated:

                “The contamination in the area of the concession extends to 7,392,000 cubic meters (m3),
                a figure that is arrived at considering that we have 880 pits (proven through aerial
                photographs certified by the Geographic Military Institute which appear throughout the
                record, analyzed together with the official documents of Petroecuador submitted by the
                parties and especially by the expert Gerardo Barros, and aggravated by the fact that the
                defendant has not submitted the historical archives that record the number of pits, the criteria
                for their construction, use or abandonment) of an area of 60 x 40 meters, and because of the
                possibility of leaks and spills, it should be remediated in an area of at least 5 meters around
                the pits, and the pits have a depth of 2.40 meters (which is a reasonable estimate, considering
                that the pits have different dimensions, and as we noted above, the defendant has not
                presented an archive or historical record that details the number or the dimensions specified
                for the construction of the pits).” PX 400 (Lago Agrio Judgment), at 125.
        54

                DI 1847 (Chevron Corp. Post-trial Mem. of Law), at 77.

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                 Before addressing Chevron’s argument, it is important to understand what that

argument is and what it is not. Some might characterize the discussion that follows as an effort by

this Court to review the merits of the Ecuadorian Judgment. But any such characterization would

be wrong. The point here is not whether the Judgment was right or wrong on this point. It instead

is whether the Judgment, right or wrong, took the 880 pit count – the importance of which cannot

be overstated – from the Cabrera Report, notwithstanding the Judgment’s disclaimer of reliance on

that document.

                 We begin with the Judgment’s explanation for its 880 pit finding. It initially claimed

to have derived the 880 figure from “[1] aerial photographs [of the Concession] certified by the

Geographic Military Institute which appear throughout the record, analyzed together with [2] the

official documents of Petroecuador submitted by the parties and [3] especially by the expert Gerardo

Barros,”55 which are in the Lago Agrio record. But neither the Judgment nor the defendants have

identified any such “official documents of Petroecuador,” whether in the record or otherwise, that

support the pit count of 880.

                 Following the entry of the Judgment, Chevron moved for expansion and clarification,

inter alia, of the basis for the conclusion that there were 880 pits:

                 “What is the basis for concluding that there are 880 pits, as is indicated on page 125
                 of the Judgment: ‘considering that we have 880 pits’? * * * In that regard, I
                 hereby request that you expand your judgment, mentioning the page numbers from
                 which all this information was obtained.”56

In the Lago Agrio court’s subsequent clarification order, the court dropped its former references to

       55

                 PX 400 (Lago Agrio Judgment), at 125.
       56

                 PX 2502 (Chevron motion for expansion and clarification, filed Feb. 17, 2011), twenty-
                 seventh request for expansion of the judgment, at 17 (emphasis in original).

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unspecified PetroEcuador documents and to the Barros report. It stated only that “the Court

analyzed the various aerial photographs that form a part of the record and that were certified by the

military Geographic Institute.”57 Thus, the 880 pit count figure purportedly rests exclusively on

analysis of aerial photographs in the record that were obtained from the Military Geographic

Institute.

               Against this background, Chevron called two witnesses whose testimony, the Court

finds, collectively established that the count of 880 pits could not have come from the aerial

photographs and must have been drawn from the Cabrera Report and nothing else.

               The first was Spencer Lynch, who addressed the fact that the Judgment used a figure

of 880 pits whereas the figure in Cabrera Report Anexo H-1 was 916.58 The difference, he pointed

out, was that the 916 pit figure in the Cabrera Report included a total of 36 pits that either had been

operated by PetroEcuador or at which there had been “no impact” and for which, therefore, no

remediation was necessary.59 With those pits excluded, the net pit count in the Cabrera Report was

880.60

               The second witness was Dr. James Ebert, an expert in “scientific methods and

techniques of photogrammetry, photo analysis, digital imaging and image processing, and digital




         57

               PX 429 (Lago Agrio Judgment Clarification Order), at 15.
         58

               The same 916 pit figure appeared also in a spreadsheet produced by Stratus, upon which
               Anexo H-1 likely was based. PX 4100 (Lynch Direct) ¶ 98 & Figure 34.
         59

               Id.
         60

               Id.

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mapping technologies.”61 Dr. Ebert examined the photographs and the “various documents that

contained aerial photographs in the” Lago Agrio record, including the Cabrera Report and anexos,

the “Hidden Pits Report,” the “Judicial Inspection Reports’ aerial photographs, and other various

expert reports.”62 For a variety of reasons, he concluded that it would have been impossible for

Zambrano accurately to have interpreted the aerial photographs in the record.63 He explained that

Anexo E to the Cabrera Report was the primary source in the Lago Agrio record that used aerial

photographs to map pit locations and count specific pits. But these aerial photo scans – all of which

were in black and white – were of such low resolution that it would have been “difficult for even

an experienced photogrammetrist to identify and map pits,”64 much less someone with no special

training or equipment. Even more important, he concluded that “it is impossible that the authors of

the Ecuadorian judgment and the Cabrera report independently reached the same 880 pit count by

use of aerial photography.”65


       61

               PX 4000 (Ebert Direct) ¶ 4.
       62

               Id. ¶ 13.
       63

               Id. ¶ 15.
       64

               Id.
       65

               Id. ¶ 3; see also id. ¶ 18.

               Dr. Ebert then went on to illustrate “why it [wa]s not possible that the author of the
               Ecuadorian judgment and the author of the Cabrera report reached the same result by
               interpreting the photos independently.” Id. ¶ 19. He provided two examples of aerial
               photographs from the Military Geographic Institute that appeared in annexes to the Cabrera
               Report and that were interpreted by its author as identifying pits. Higher quality scans of the
               same photographs revealed that some of these pits actually were trees, above-ground tanks,
               and other objects. Id. ¶¶ 21, 22 & Figures 1, 2. For example, Appendix IV compares an
               aerial photograph of the Sacha Sur Station well site from Anexo E of the Cabrera Report

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               In sum, Lynch and Ebert collectively testified that (1) the 916 pit count in the Cabrera

Report, once adjusted in a very common sense way to eliminate the 36 “pits” that either were those

of PetroEcuador or required no remediation, was 880, (2) the pit count in the Judgment was 880, and

(3) neither the pit count in the Judgment nor that in the Cabrera Report could have been determined

accurately from the aerial photographs upon which each purported to rely. They further concluded

that, as a practical matter, it is impossible that these two documents could have reached the net count

of 880 pits independently on the basis of examination of the aerial photographs, which was the sole

stated foundation of each.

               Although the defendants never made the point, there is one potential weakness in

Chevron’s argument and the experts’ conclusions on this score. Chevron has not provided

conclusive evidence that the 880 pit count is nowhere in the Lago Agrio record. In contrast to its

analysis with respect to the identity of language in and other characteristics of the Judgment and the

LAPs’ internal work product, Chevron did not offer a witness who testified that the witness had

reviewed the entire record and found no reference to 880 pits except in or simply derived from the

Cabrera Report.

               On the other hand, defendants have not identified any possible source in the Lago

Agrio record for the Judgment’s 880 pit count, other than the Cabrera Report, save for the claim that

Zambrano reached that figure independently by counting what appeared to him to be waste pits on

low resolution aerial photographs. The Court finds that hypothesis to be incredible given both the

quality of the photographs and Zambrano’s lack of credibility.



               (top), to a higher quality image taken from the same source at the same site (bottom). It
               reveals that a portion of the image characterized by the Cabrera Report as a waste pit actually
               is a man made structure.

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                 Nor did the LAPs’ submissions to the Lago Agrio court, its alegatos, point to any

record support for the pit count that wound up in the Judgment, although it referred extensively to

the Cabrera Report. In fact, their December 17, 2011 alegato claimed that there were 916 pits – the

same figure as the Cabrera Report – and cited only the Cabrera Report as support for that

proposition.66

                 This failure to cite any other record support for this or any other pit count is telling.

The LAPs were worried that their relationship with Cabrera would impugn the credibility of any

judgment that relied on it. Indeed, they successfully had petitioned the court to allow them to submit

the cleansing reports to provide alternative bases upon which the ultimate decision could claim

reliance. If there were a source in the record other than the Cabrera Report that supported the pit

count figure – which was the basis for the largest component of damages – the LAPs would have

cited it. But they did not. And that logically suggests that there was nothing in the Lago Agrio

record to support the pit count except the Cabrera Report, adjusted to eliminate the PetroEcuador

and the “no impact” pits.

                 The Court finds that the 880 pit count in the Judgment came directly out of the

Cabrera Report, adjusted only for the PetroEcuador and “no impact” pits. It further finds that the

circumstances discussed by Ebert and Lynch, whom the Court credits, make it impossible that the

pit count in the Judgment came from anything but the Cabrera Report.



II.      Potable Water Damages

                 Chevron next contends that the Judgment’s $150 million award for potable water


         66

                 DX 1482 (LAPs’ Dec. 17, 2011 Alegato), at 60 & n.252.

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damages is based on the Cabrera Report.67

               The Cabrera Report recommended the award of $428 million in damages for potable

water.68 A report filed by Chevron expert Gerardo Barros, which is cited in the Judgment,69 stated

that the Cabrera Report had awarded $430 million for potable water, and that this figure was

“[g]rossly [e]xaggerated and [f]raudulent.”70 The Judgment, citing Barros, agreed that the “430

million is too high,” and therefore reduced it.71 It found that 35 percent of the relevant population

lacked access to potable water and awarded $150 million to remedy that problem.72 The $150

million figure is 35 percent of the $430 million, rounded down by $500,000 to an even million,

recommended in the Cabrera Report. Moreover, the Judgment cited no evidentiary basis for the

$150 million figure.73

               Once again, the point here is not whether the Judgment was correct in awarding

damages in respect of potable water or, if so, whether the figure it selected was well founded. Those

questions are not before this Court. Rather, the point is that the figure awarded was derived directly

       67

               PX 400 (Lago Agrio Judgment), at 182-83.
       68

               PX 310A (Cabrera Report), at 6.
       69

               PX 400 (Lago Agrio Judgment), at 182.
       70

               PX 3306 (Barros Report Excerpt), at 3. The full Barros Report was not offered. Thus, the
               only evidence of what Barros said on this subject was his repetition and rounding off of
               what Cabrera said.
       71

               PX 400 (Lago Agrio Judgment), at 182-83.
       72

               Id. at 182-83.
       73

               See id.

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from the $428 million recommendation contained in the Cabrera Report, as this Court finds.



III.   The Cleansing Experts

               As noted, the LAPs successfully petitioned the Lago Agrio court to permit them to

submit additional expert reports that were intended to “cleanse” the Cabrera Report. The Judgment

cited several of them. Chevron contends, however, that the Judgment relied on the Cabrera Report

by virtue of its reliance on the cleansing experts. For example, the Judgment cites only one source

to support its $200 million award to restore flora and fauna in the Concession area: the report

prepared by Dr. Lawrence Barnthouse.74 This is so despite the fact that the Judgment recognized

that “Dr. Barnthouse testified that he reviewed expert Cabrera’s report, but did not prepare a damage

report himself” and concluded that “the plaintiff committed fraud by using work of Dr.

Barnthouse.”75 Moreover, the Judgment cited the report of Douglas Allen as a basis for its awards

of $5.4 billion for soil remediation and $600 million for groundwater restoration.76 But Allen

admitted in a deposition that he “relied on parts of the Cabrera Report” and that he did not attempt

independently to verify Cabrera’s data.77

               Chevron’s argument with respect to the cleansing experts falters at least with respect

to Allen. As a preliminary matter, it is not clear that the Judgment actually purported to rely on the



       74

               Id. at 182.
       75

               Id. at 57.
       76

               Id. at 179, 181.
       77

               Allen Dep. Tr. at 171:18-172:3.

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Allen report for the groundwater restoration figure. In awarding $600 million for groundwater

restoration, the Judgment noted that the figure is “lower than the average according to economic

criterion estimated by Douglas C. Allen, expert contracted by the plaintiffs . . . which is not in any

way obligatory or binding for this Court, but rather a simple reference that is not accepted. . . .”78

Thus, although the Judgment used Allen as a reference point, it is not clear that it purported to rely

on his report – and only his report – to come up with the $600 million figure. Moreover, although

Allen testified in his deposition that his report relied on parts of the Cabrera Report, he did not say

that he relied on it in his damages assessments for soil remediation and groundwater restoration –

the two areas for which he is cited in the Judgment.

               With respect to the cleansing experts, then, we are left only with the Judgment’s

reliance on Barnthouse, who in turn relied on the Cabrera Report, for its $200 million award for

restoration to flora and fauna. This alone would be insufficient to deem the Judgment invalid for

its reliance on a fraudulent report, particularly in this case, where such a figure is a tiny drop in a

very large bucket. Combined with the pit count and the potable water damages, however, it supports

the conclusion that the Judgment relied on the Cabrera Report notwithstanding its purported

disclaimer of such reliance.



IV.    Eight Categories of Damages

               Finally, Chevron argues that the Judgment “awards damages for the same eight

categories that were developed by Defendants and ghostwritten into the Cabrera Report.”79 These

       78

               PX 400 (Lago Agrio Judgment), at 179.
       79

               DI 1847 (Chevron Corp. Post-trial Mem. of Law), at 78.

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categories are: soil restoration,80 restoration of groundwater,81 damages to the ecosystem,82 loss of

indigenous culture,83 punitive damages,84 healthcare system,85 potable water,86 and excess cancer

deaths.87 These damage categories, Chevron contends, “are supported by nothing else in the record

except the LAPs’ final alegato, which itself cites throughout to the Cabrera Report.”88 Chevron

posits also that the Judgment’s punitive damages award “matched the Cabrera Report’s ‘unjust

enrichment’ award in rationale and effect . . . and had no other record source.”89 There are several

problems with Chevron’s arguments on this point.

               First. The Cabrera Report identified seven categories of damages, not eight like the

Judgment. It did not recommend an award of damages for soil restoration. Chevron effectively

admits this fact, as it cites without explanation a November 2007 filing by Cabrera as support for


       80

               PX 400 (Lago Agrio Judgment), at 125, 181.
       81

               Id. at 147.
       82

               Id. at 152.
       83

               Id. at 173-74.
       84

               Id. at 185-86.
       85

               Id. at 183.
       86

               Id.
       87

               Id. at 184.
       88

               DI 1847 (Chevron Corp. Post-trial Mem. of Law), at 78-79.
       89

               Id. at 79.

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the fact that Cabrera awarded damages for soil restoration. But (1) the filing is in Spanish and an

English language version was not provided, and (2) the filing – whatever it may be – is not part of

the Cabrera Report.

               Second. Although the LAPs did identify soil restoration as the eighth damages

category in their alegato, Chevron has failed to prove that it did so in reliance only on Cabrera. In

fact, Chevron did not even offer the alegato in evidence. Moreover, the fact that the alegato

identified eight categories of damages makes it just as likely that the Judgment relied on the LAPs’

final brief.

               Third. Chevron is incorrect in its assertion that the Judgment’s punitive damages

award is the same “in rationale and effect” as Cabrera’s recommended unjust enrichment award.

The Cabrera Report recommended an award of $8.31 billion for “unjust enrichment.” It stated that

“in other countries, unjust enrichment is used to determine the amount of punitive damages.

Although the Court can decide to use the calculation of unjust enrichment in that way,” the Cabrera

Report instead calculated it by comparing the “‘savings’ gained by Texpet by not using adequate

environmental controls; and . . . the current value of those savings based on the defendant’s profits

from capital investments.”90 By contrast, the Judgment imposed a “punitive penalty equivalent to

additional 100% of the aggregate values of the reparation measures.”91 In effect, it simply doubled

the damages figure.



        90

               PX 310A (Cabrera Report), at 51. The Cabrera Report stated that “Annex T provides
               details on the calculation of unjust enrichment.” Id. However, Chevron did not offer an
               English translation of Annex T into evidence and therefore the Court declines to consider
               the Spanish.
        91

               PX 400 (Lago Agrio Judgment), at 185.

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                                             *     *       *

               In sum, the Court finds that the Judgment purported to rely on the Cabrera Report at

least (1) for the pit count – which drove its largest damages award, (2) for the potable water damages

award, and (3) by virtue of its reliance on the Barnthouse report. The Court thus finds that the

Cabrera Report was material to the Judgment at least in those respects, which collectively were very

important indeed.




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              Appendix IV – Aerial Photograph Example (PX 4021)




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                                   Appendix V – Evidentiary Issues

I.      Admissibility of the Bank Records and Identity Cards

               Guerra testified that in the fall of 2009 he entered into an agreement with Donziger,

Fajardo, and Yanza to draft orders favorable to the defendants under Zambrano’s name in exchange

for $1,000 per month, to be paid by Fajardo and the LAPs.92 Chevron offered documentary evidence

to corroborate Guerra’s story. It included bank statements93 and deposit slips purporting to show

a series of $1,000 deposits into Guerra’s account including two allegedly made by a Selva Viva

employee named Ximena Centeno on December 23, 2009 and February 5, 2010.94 It includes also

additional deposit slips dated October 24, 2009,95 November 27, 2009,96 and January 6, 201197 each

showing a $1,000 deposit into Guerra’s bank account,98 although none of these three bears Centeno’s

signature. Finally, Chevron offered copies of two of Centeno’s national identity cards,99 both of


        92

               Tr. (Guerra) 914:10-931:13; see supra Facts § X.C.
        93

               PX 1689, 1704, 1705, 1708, 1710 (Guerra Bank Statements).
        94

               Several copies of the deposit slips for those two dates appear in the record. PX 1713 (Guerra
               Deposit Slips), at 1, 7, 8; PX 1719 (Dec. 23, 2009 Guerra deposit slip obtained by Chevron
               investigator from the bank); PX 1718 (Feb. 5, 2009 Guerra deposit slip obtained by Chevron
               investigator from the bank).
        95

               PX 1713 (Guerra Deposit Slips), at 10.
        96

               Id. at 5, 11.
        97

               Id. at 15.
        98

               Id. at 5, 10, 11, 15.
        99

               PX 1740, 1741 (Centeno Nat’l Identity Cards).

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which bear her signature and cedula (or identification number).100 These were provided as means

of authenticating the purported Cedeno signatures that appear on the December 23, 2009 and

February 5, 2010 deposit slips and to prove that the cedula on one of these belonged to Centeno.



       A.     The Bank Statements

              Defendants objected to the admissibility of the bank statements,101 citing principally

hearsay.102 Those exhibits are admissible under either the business records exception103 or the

       100

              A cedula number is an identification number that in Ecuador is assigned “to each individual,
              specifically, of Ecuadorian nationality, and which is used to identify the person throughout
              his or her life.” Tr. (Guerra) 958:6-9.

              The parties stipulated that the cedula number that appears on the two deposit slips belongs
              to Ximena Centeno. Tr. (Guerra) 953:1-4 (“MS. LITTLEPAGE: Yes. There is a woman
              who worked for Selva Viva, whose name is Ximena Centeno, whose number this is. We
              believe this is hearsay because we do not believe there is any evidence that that woman
              deposited this money at this bank.”).
       101

              PX 1689, 1704, 1705, 1708, 1710 (Guerra Bank Statements).
       102

              Defendants’ other objections merit only brief attention.

              Defendants’ relevance objection clearly is baseless. The bank statements Chevron offered
              show that money was deposited into Guerra’s bank account (a) two days after Fajardo sent
              an email to Donziger and Yanza stating “[t]he puppeteer won’t move his puppet unless the
              audience pays him something,” PX 1751 (Oct. 27, 2009 Email from P. Fajardo to S.
              Donziger and L. Yanza re: “NEWS”), and (b) in amounts that corresponded to
              near-simultaneous withdrawals from the Selva Viva account, PX 583 (Banco Pichincha
              Account Summary for Selva Viva), at 52-53. All of this is highly relevant to Chevron’s
              claim that Donziger and the LAPs paid Guerra as Guerra claimed. See supra Facts § X.C.

              Defendants object to the admission of the redacted copy of Guerra’s bank statement for
              February 2010, PX 1689, under the rule of completeness. The exhibit includes an
              unredacted Spanish-language version of the bank statement. Even if it did not, defendants
              have not shown that the redacted portions of this bank statement, which contain personal
              information and transactions unrelated to this case, must be admitted under Rule 106.

              Finally, defendants raised what became a common litany of objections, including
              authenticity and best evidence. Substantially for the reasons discussed below in relation to

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residual hearsay exception.104

               The business records exception provides that a record of a “regularly conducted

activity” is admissible for the truth of the matter where the record was made contemporaneously by

someone with knowledge, the record was kept in the regular course of business and as a regular

practice, a qualified witness testifies to those facts, and the records are trustworthy.105 Courts have

recognized, however, that neither a qualified witness nor a certification is necessary to provide the

foundation in all instances. Instead, “the requirements for qualification as a business record can be

met by documentary evidence, affidavits, or admissions of the parties, i.e., by circumstantial

evidence, or by a combination of direct and circumstantial evidence.”106 Courts have acknowledged

also that “[a] foundation for admissibility may at times be predicated on judicial notice of the nature

of the business and the nature of the records as observed by the court, particularly in the case of bank

and similar statements.”107

               The Court takes judicial notice that banks routinely produce periodic statements for

their customers and that those periodic statements reflect any and all deposits, withdrawals, debits

and credits during stated periods of time. This is done in the regular course of business by bank


               the deposit slips, these objections have no merit and do not warrant further discussion.
       103

               FED. R. EVID. 803(6).
       104

               Id. 807.
       105

               Id. 803(6).
       106

               United States v. Pelullo, 964 F.2d 193, 201 (3d Cir. 1992) (quotations omitted).
       107

               Fed. Deposit Ins. Corp. v. Staudinger, 797 F.2d 908, 910 (10th Cir. 1986) (quotations
               omitted); see also 5-803 WEINSTEIN’S EVIDENCE § 803.08 (2d ed. 1997-present).

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employees with knowledge of the computer systems used to track customers’ account activity.

Having taken judicial notice of these facts, and having considered also Guerra’s testimony regarding

the source of the bank statements,108 the Court finds that the bank statements are admissible under

Rule 803(6). There is no reason to believe those records untrustworthy.

               Even if the technical requirements of Rule 803(6) were not satisfied, the Court would

receive the bank statements under the residual hearsay exception. In Karme v. C.I.R.,109 the Ninth

Circuit held that a bank statement was admissible under the residual hearsay exception due to its

“circumstantial guarantees of trustworthiness,” the fact that it was more probative of a material fact

than other obtainable evidence, and that “admitting it will best serve the purposes of these rules and

the interests of justice.”110 This Court agrees.

               As discussed above, the bank statements are probative of whether defendants paid

Guerra as he claimed. Coupled with the “puppeteer” emails and the deposit slips, infra, the bank

statements are more probative of that fact than any other evidence that Chevron has or reasonably

could have obtained. There is no reason to doubt their trustworthiness. They appear in the exact

manner that one would expect, and Guerra testified as to how he obtained them directly from the



       108

               Tr. (Guerra) 1040:3-16 (“Q. Mr. Guerra, I want to refer you to your what’s been marked as
               Plaintiff’s Exhibit 1689, 1704, 1705, and 1708. If you could please look at each of those. Mr.
               Guerra, are each of those documents a monthly bank statement that you received from your
               bank, Banco Pichincha, concerning your bank account? A. Yes, sir, they are. Q. Do you
               recognize them to be true and correct copies of your bank statements that you received
               directly from your bank, your monthly statements? A. Yes. Q. Are these documents that you
               turned over to Chevron in connection with this litigation? A. Yes.”).
       109

               673 F.2d 1062 (9th Cir. 1982).
       110

               Id. at 1064-65; FED. R. EVID. 807.

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bank, testimony that the Court credits.111        Thus, “[g]iven the circumstantial guarantees of

trustworthiness which were present here, the distant location of the bank, and the lack of any

evidence in the record to suggest that the bank records are anything other than what they purport to

be,” the bank statements are admissible under the residual hearsay exception as an alternative to the

business records exception.112 Moreover, Rule 807(b)’s notice requirement is satisfied because

Chevron produced Guerra’s bank statements for December 2009, February 2010, and June 2011 in

January 2013 – months before trial began,113 and Chevron disclosed all of its trial exhibits to

defendants approximately six weeks before trial began, on August 30, 2013.114



       B.      The Identity Cards

               Chevron offered two of Centeno’s national identity cards, which purport to bear her

signature and her cedula number. They were offered as signature exemplars to authenticate the

signature that appears on two of the deposit slips. Defendants objected to the admission of the

identification cards on the bases of relevance and best evidence.

               The cards are relevant to the question of whether Centeno made the deposits to



       111

               Tr. (Guerra) 1040:3-16.
       112

               Karme, 673 F.2d at 1065.
       113

               DI 746 (Guerra Decl.), Ex. C, Att. K, G, M.
       114

               DI 1492 (Chevron proposed pretrial order) (filed August 30, 2013; docketed October 4,
               2013); see, e.g., Robinson v. Shapiro, 646 F.2d 734, 741-42 (2d Cir. 1981) (notice served
               six weeks before trial was conceded to be sufficient); United States v. Lino, No. 00 CR. 632
               (WHP), 2001 WL 8356, at *22 n.7 (S.D.N.Y. Jan. 2, 2001) (requiring that the government
               give defendant 30-days notice if it intended to avail itself of Rule 807).

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Guerra’s bank account, as the signatures on the identity cards permit a determination as to whether

the signatures on the deposit slips were affixed by Centeno.

                  Defendants’ best evidence argument likewise is without merit. There is no genuine

question about the authenticity of the original identity cards. Nor is there anything about the

circumstances that makes it unfair to admit the copies. Indeed, Centeno was an employee of Selva

Viva, which must have had ready access either to copies of her cards or other information permitting

defendants to verify the authenticity of the signatures on the copies of the identity cards offered at

trial.115

                  Accordingly, the identity cards116 were received properly. Centeno’s signatures on

them are exemplars against which to compare the signatures found on the deposit slips dated

December 23, 2009 and February 5, 2010.



            C.    The Deposit Slips and Centeno’s Signatures

                  1.     The Deposit Slips

                  The defendants initially objected to the deposit slips on hearsay, authenticity, best

evidence and relevancy grounds. They then explicitly waived any hearsay objection to the deposit

slips save for their hearsay objection to the purported Centeno signatures and the cedula number of

the person who allegedly made the December 23, 2009 and February 5, 2010 deposits.117 What



            115

                  FED. R. EVID. 1003.
            116

                  PX 1740, 1741 (Centeno Nat’l Identity Cards).
            117

                  Tr. 942:14-943:5.

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remains, therefore, are the authenticity, best evidence, and relevancy arguments and the hearsay

objection with respect to the signatures and cedula number on the December 23, 2009 and February

5, 2010 deposit slips.

               The authenticity, best evidence, and relevancy objections are speedily dispatched.

Authenticity of the deposit slips, putting to one side the authenticity of the Centeno signatures on

the December 23, 2009 and February 5, 2010 slips, was proved by multiple means, including

without limitation the distinctive characteristics of bank deposit slips,118 the corroboration of the

information on the deposit slips by the bank statements, the testimony of Guerra, and, with respect

to the December 23, 2009 and February 5, 2010 deposit slips, a Chevron investigator’s affidavit

stating that he obtained copies of each of them directly from the bank.119 The best evidence

objection is baseless because there was no genuine question as to the identity of the copies offered

to the originals from which they were copied and there was no unfairness in admitting the copies.120

The relevance of the deposit slips is obvious – they were offered to prove that the LAPs paid Guerra

for ghostwriting at least some of Zambrano’s Chevron orders. The existence of deposit slips

corresponding in timing and amount to the alleged payments makes it more likely that such

payments were made than in the absence of such evidence.121 This is especially true of the


       118

               FED. R. EVID. 901(b)(4).
       119

               E.g., Jian Rong Xiao v. Bd. of Immigration Appeals, 213 F. App’x 38, 41-42 (2d Cir. 2007)
               (party’s testimony as to “issuance and chain of custody with respect to” personal documents
               can be sufficient to show authenticity); 5-901 WEINSTEIN’S FEDERAL EVIDENCE § 901.03 (2d
               ed. 1997-present).
       120

               FED. R. EVID. 1003.
       121

               See id. 401.

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December 23, 2009 and February 5, 2010 deposit slips, provided that they bear Centeno’s signatures

as they purport to do.122

               Finally, even if the technical requirements of Rule 803(6) were not satisfied, the

deposit slips, putting to one side the purported signatures of Centeno and the cedula number, are

admissible under the residual hearsay exception for the same reasons discussed in relation to the

bank statements’ admissibility under the same rule.123




       122

               The deposit slips – at least to the extent of the dates, amounts, and identity of the account
               to which the deposits were made – would have been admissible over hearsay objection
               under the business records exception even if that objection had not been waived and even
               assuming that the deposit slips were offered to prove the truth of those data.

               There is adequate documentary evidence to provide a foundation for the deposit slips’
               admissibility under Rule 803(6) by virtue of United States v. Pelullo, 964 F.2d 193, 201 (3d
               Cir. 1992) (“[T]he testimony of the custodian or other qualified witness is not a sine qua non
               of admissibility in the occasional case where the requirements for qualification as a business
               record can be met by documentary evidence, affidavits, or admissions of the parties, i.e., by
               circumstantial evidence, or by a combination of direct and circumstantial evidence.” (citation
               and quotations omitted)). Guerra’s bank statements are circumstantial evidence of the
               deposit slips’ reliability as to those points, and that is as true of the two bearing the purported
               signature of Centeno as it is of the others. The statements corroborate the dates, amounts,
               and account numbers listed on the deposit slips. In addition, Guerra testified that he
               retrieved the entire group of deposit slips (PX 1713) directly from Banco Pichincha. Tr.
               (Guerra) 934:2-7. The Chevron investigator independently obtained directly from the bank
               copies of the two deposit slips purportedly signed by Cenento and that bore her cedula
               number, PX 1718 and PX 1719. The testimony of Guerra and the investigator, in addition
               to establishing authenticity through the chains of custody, support an inference that the bank
               maintained those records in the normal course of its business and that it was its regular
               course of business to do so.
       123

               There is an additional basis for admitting the two deposit slips that purport to contain
               Centeno’s signature, assuming that those slips in fact do bear her signature. By signing,
               Centeno verified the accuracy of the date, time, amount, account, and recipient contained on
               the deposit slip. Her signature thus was an adoptive admission of all of the other statements
               contained on each slip under Rule 801(d)(2). Rule 801(d)(2) and Centeno’s conceded role
               as defendants’ agent or employee are discussed in greater detail below.

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               2.      Centeno’s Signatures and Cedula

               Defendants object on authenticity and hearsay grounds to the admission of the

purported Centeno signatures and cedula number on the bottom of the December 23, 2009 and

February 5, 2010 deposit slips. The Court begins with the authenticity issue.

               Defendants argue that there is no evidence that Centeno, as opposed to the bank teller

or some other person, actually signed the deposit slips and wrote Centeno’s cedula number on them,

and that the admissibility of the statements hinges on the author’s identity. The argument is not

persuasive.

               The Court has before it two Centeno national identity cards, each of which bears her

signature. It has compared these exemplars with the signatures on the two deposit slips in question,

as it of course may do for this purpose.124 The signatures are extremely similar and share obvious

common characteristics. Each contains loops around each the first and last names and all are

consistent in size, style, and lettering. In all the circumstances, the Court finds that Centeno signed

the deposit slips for the December 23 2009 and February 5, 2010 deposits and in fact made those

deposits to Guerra’s account. As she did so as an employee of Selva Viva,125 which is controlled




       124

               See United States v. Kalymon, 541 F.3d 624, 632 (6th Cir. 2008) (“Rule 901(b)(3) in turn
               provides that the trier of fact can authenticate a signature by identifying and comparing it
               with a signature already authenticated.” (citation omitted)); United States v. Spano, 421 F.3d
               599, 605 (7th Cir. 2005) (“no rule of evidence makes a [factfinder] incompetent to determine
               the genuineness of a signature by comparing it to a signature known to be genuine”).
       125

               Tr. (Donziger) 2596:1-4 (“Q. Ximena Centeno is an employee of Selva Viva [in December
               2009], correct, sir? A. My understanding was that she worked for Selva Viva at that time,
               yes.”); PX 1739 (public record showing Ximena Centeno’s employment at Selva Viva from
               September 2009 to May 2010).

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by the defendants,126 the information on those two deposit slips, to the extent if any that it might be

characterized as one or more statements offered to prove the truth of the matters asserted, are

admissible against the defendants as non-hearsay pursuant to Rule 801(d)(2).127



II.      The Hearsay Objections to Certain Guerra-Zambrano Conversations Are Overruled

               Donziger – but not the LAP Representatives – objected to Guerra’s in-court direct

testimony, although not his written direct testimony, with respect to (a) Guerra’s conversation with

Zambrano in which Zambrano allegedly instructed Guerra to propose to the LAPs that he would

allow them to draft the judgment and would sign and issue it as his own in exchange for at least

$500,000, and (b) Guerra’s conversation with Zambrano following the ensuing meeting at which

Guerra allegedly repeated the proposal to Fajardo, Yanza, and Donziger. The latter was the

conversation in which Zambrano allegedly told Guerra that he had been in touch with Fajardo, that

the LAPs had agreed to pay Zambrano $500,000 from the proceeds of the judgment, and that

Zambrano would share that money with Guerra once it was received.128

               The Court overruled Donziger’s hearsay objection as to Zambrano’s alleged

statement in conversation (a) on the ground that the statements were admissible at least for

nonhearsay purposes, viz. “to explain the sequence of events regardless of whether it was true” and




         126

               See supra Facts § II.C.2.
         127

               See Pappas v. Middle Earth Condo. Ass’n, 963 F.2d 534, 537 (2d Cir. 1992).
         128

               The written direct is at PX 4800 (Guerra Direct) ¶¶ 41-44. The testimony and objections are
               included in the passage at Tr. (Guerra) 990:9-1002:1.

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promised a later ruling as to the full scope of admissibility.129 It overruled also their hearsay

objections as to the alleged statements by Fajardo and Zambrano in conversation (b).130 The Court

has reviewed these rulings and adheres to them.

                   Zambrano’s statement in conversation (a) clearly was admissible, regardless of its

truth, “to explain the [ensuing] sequence of events” and, in addition, to demonstrate the relationship

between Zambrano and Guerra.

                   The Zambrano statements to Guerra in the post-meeting conversation, conversation

(b), require analysis at two levels because they include statements as to what Fajardo allegedly told

Zambrano. For the reasons that follow, everything said in conversation (b) also was admissible

against Donziger (and would have been admissible against the LAP Representatives had they

objected to it).

                   The Fajardo statement to Zambrano – i.e., Fajardo’s statement that the LAPs had

agreed to pay Zambrano $500,000 from the proceeds of the judgment was not hearsay because it was

offered to prove that Fajardo made the statement, which was relevant to show why Zambrano

thereafter did what he did. The same is true of part of Zambrano’s subsequent statement to Guerra

– i.e., that Zambrano would share with Guerra part of any money he received from the LAPs – as

it explains why Guerra assisted in the preparation of the judgment. Thus, the only hearsay in either

conversation was Zambrano’s relation to Guerra of what Fajardo allegedly had said to Zambrano,

which was offered to prove the truth of Zambrano’s account of what Fajardo had said. But this was



        129

                   Tr. (Guerra) 991:1-5.
        130

                   Tr. (Guerra) 999:14-16, 999:24-1001:24.

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an admissible co-conspirator declaration.131 Indeed, the same would be true of the entirety of the

conversation even if every statement were offered for the truth of the matters asserted.

                 The guiding principles are these:

                 “To admit a statement under the coconspirator exception to the hearsay definition,
                 a district court must find two factors by a preponderance of the evidence: first, that
                 a conspiracy existed that included the defendant and the declarant; and second, that
                 the statement was made during the course of and in furtherance of that conspiracy.
                  * * * The conspiracy between the declarant and the defendant need not be
                 identical to any conspiracy that is specifically charged in the indictment. [citation
                 omitted] In addition, while the hearsay statement itself may be considered in
                 establishing the existence of the conspiracy, ‘there must be some independent
                 corroborating evidence of the defendant’s participation in the conspiracy.’ United
                 States v. Tellier, 83 F.3d 578, 580 (2d Cir.1996).”132

As the Federal Rules of Evidence apply both to criminal and civil cases133 and do not differentiate

as to the standards governing admissibility of co-conspirator declarations, these principles apply

here.134

           131

                 FED. R. EVID. 801(d)(2)(E).
           132

                 United States v. Gigante, 166 F.3d 75, 82 (2d Cir. 1999).

                 Although not expressly required, there is abundant independent evidence of the existence of
                 the conspiracy.
           133

                 FED. R. EVID. 1101(b).
           134

                 United States v. Stanchich, 550 F.2d 1294, 1299 n.4 (2d Cir. 1977).

                 The Court notes that there can be no conspiracy to bribe because the crime of bribery is one
                 which necessarily requires the concerted action of the briber and the bribee. United States
                 v. Sager, 49 F.2d 725, 727-28 (2d Cir. 1931) (“[w]here concert is necessary to an offense,
                 conspiracy does not lie”). Defendants therefore conceivably might have argued that
                 Donziger and Fajardo could not have been co-conspirators, and the statements in
                 conversations (a) and (b) therefore are inadmissible hearsay, because Donziger and Fajardo
                 could not have been convicted of conspiring with Zambrano to commit bribery. But that
                 argument would be of no avail for three reasons.


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               In this case, the Court finds, as is explained in the text, that there was a conspiracy

among Zambrano, Guerra, Fajardo, and Donziger for Zambrano to decide the case in the LAPs’

favor and to sign a judgment prepared by their lawyers and pass that judgment off as his own in

exchange for $500,000. There is ample evidence, independent of the alleged hearsay statements,

both of the existence of that conspiracy and of the participation of Donziger and Fajardo in it. In

addition to the circumstantial evidence described in the text, this includes (1) Guerra’s changing his

“modus operandi regarding [his] role as ghostwriter in the Chevron case,”135 (2) the “brief meeting”


               First, defendants did not make the argument. It therefore was waived. Even if they had
               made the argument, however, it would have failed for each of two independent reasons.

               Second, admission of a statement under Rule 801(d)(2)(E) does not require that the technical
               elements necessary to obtain a conspiracy conviction all have been satisfied – only that the
               statements were made “in furtherance of some joint purpose.” United States v. Trowery, 542
               F.2d 623, 626 (3d Cir. 1976) (“The absence of a conspiracy count . . . is without legal
               significance in determining whether [one’s] statements were admissible against [another].
               The Government need only prove a conspiracy in fact between [the two] to make the words
               of one, spoken in furtherance of some joint purpose, the words of the other as well.”); United
               States v. El-Mezain, 664 F.3d 467, 502 (5th Cir. 2011). Rule 801(d)(2)(E), if otherwise
               satisfied, therefore would have warranted receipt of the statements even if the participants
               in the two conversations could not have been convicted of conspiracy to commit bribery in
               addition to bribery.

               Third, all of the participants in the conversations would have been subject to conviction for
               conspiracy notwithstanding the rule noted in the Sager case. The Court of Appeals has
               limited the rule set forth in Sager – that there can be no criminal conviction of the payer and
               taker of a bribe for the crime of conspiracy to bribe – to apply only to situations in which the
               conspiracy “involved [no] more participants than were necessary for the commission of the”
               crime of bribery. United States v. Benter, 457 F.2d 1174, 1178 (2d Cir. 1972). A conspiracy
               may be charged where the bribe payer and bribe recipient use a “go between” – a person
               whose participation is not necessary to the offense of bribery, which requires only offer and
               acceptance in exchange for (usually) official conduct – to facilitate the bribe. See id. That
               is exactly the situation here. The bribe givers (Fajardo, Donziger, and perhaps Yanza) and
               the bribe taker (Zambrano) used Guerra as their go between. Although he facilitated the
               bribe, Guerra’s participation was not essential to the crime of bribery, which required
               Fajardo and/or Donziger on one side and Zambrano on the other. All of the participants in
               the bribe scheme therefore could have been convicted of conspiracy. Cf. United States v.
               Wong, No. 99 CR. 842 (RPP), 2000 WL 297163, at *3 (S.D.N.Y. Mar. 22, 2000).
       135

               PX 4800 (Guerra Direct) ¶ 44.

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in Zambrano’s apartment among Guerra, Fajardo and Zambrano during which the latter two handed

over Fajardo’s laptop, containing a draft of the judgment, for Guerra “to fine tune and polish” it,136

(3) Guerra’s call to Fajardo for clarification during the “fine tuning” of the judgment,137 (4)

Fajardo’s provision to Guerra of the “memory aid” to assist him in revising the draft,138 (5) Guerra’s

assistance to Zambrano in preparing the supplemental and clarification order,139 (6) Donziger’s

responses to Guerra at the meeting at which the bribe was proposed, including particularly his

inquiry as to how he could be sure that Zambrano would “not deviate from the agreement and . . .

keep it secret” and his statement that the LAPs “did not have that sum of money [i.e., $500,000] .

. . at [that time],”140 which were attempts to negotiate the terms of the proposal by delaying payment

(the LAPs then were short of cash) and by seeking to ensure that Zambrano would have to deliver

the promised quid pro quo before any money changed hands, and (7) the enormous amount of

independent evidence, including Donziger’s own statements, that Donziger was in overall charge

of the entire LAP effort, and Fajardo’s statements.

               Finally, the Court finds that Zambrano’s relation to Guerra of what Fajardo told

Zambrano was in furtherance of the conspiracy. Zambrano thereby induced Guerra to contribute

his efforts to the joint project – the preparation of a judgment prepared principally by the LAPs in


       136

               Id. ¶ 47
       137

               Id. ¶ 49
       138

               Id.
       139

               Id. ¶ 52.
       140

               Id. ¶ 42.

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exchange for a future payment. Making clear to him that Fajardo had conveyed the LAPs’

agreement to pay the money, out of which Guerra would receive his cut, furthered the overall plan.

The “in furtherance” requirement, moreover, is satisfied as to every statement made by Zambrano

in his conversation with Guerra and every statement made by Fajardo in his conversation with

Zambrano.



III.   Beltman and Maest Witness Statements

               Douglas Beltman and Ann Maest were employed by Stratus. Beltman was in charge

of the Lago Agrio engagement for the firm. Both were principal authors of the Cabrera Report and

other materials. Prior to the commencement of this action, and thus at a time when their interests

were aligned with those of the defendants, Beltman and Maest were deposed in Chevron’s Section

1782 proceeding. They and Stratus originally were defendants in this action, but they and Stratus

settled with Chevron. In connection with the settlement, each signed and provided to Chevron a

declaration that is at odds with that given in their depositions.141 Neither side, it appears, sought to

take their depositions in this case.

               During the trial, Chevron and the defendants stipulated that the Beltman and Maest

declarations would be received in evidence, but not for the truth of the matters asserted, and that the

defendants would waive cross-examination of Stratus’ president, Joshua Lipton. Subsequently,

defendants designated testimony of Beltman and Maest given in the Section 1782 depositions.142

       141

               PX 5208 (Beltman Decl.); PX 5210 (Maest Decl.).
       142

               The Court previously had ruled that “all defendants were ‘present or represented’ at the 1782
               Depositions, thus satisfying Rule 32(a)(1)(A) and (a)(8) and making them usable ‘to the
               same extent as if taken in [this] action.’” DI 939 (Mar. 26, 2013 Order).

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Chevron responded by offering their declarations. Defendants objected to receipt of those

declarations to the extent they were offered for the truth of the matters asserted. Chevron argues that

these declarations are admissible for their truth under FED. R. EVID. 106, 806 and 807.



        A.     Rule 106 – The Rule of Completeness

               The rule of completeness states that “[i]f a party introduces all or part of a writing

or recorded statement, an adverse party may require the introduction, at that time, of any other part

– or any other writing or recorded statement – that in fairness ought to be considered at the same

time.”143

               Only evidence that is “necessary to explain the admitted portion, to place the

admitted portion in context, to avoid misleading the jury, or to ensure fair and impartial

understanding of the admitted portion” is admissible under the rule.144 Thus, portions of the

declarations that are necessary in fairness or to explain the admitted depositions would be admissible

under Rule 106.

               The purpose for which the admitted portions of the declarations may be used is less

clear. The Second Circuit in United States v. Pierre145 noted that “Rule 106 is silent as to the

permissible uses of the document offered for completeness.”146 It acknowledged that “if the original



        143

               FED. R. EVID. 106.
        144

               United States v. Johnson, 507 F.3d 793, 796 (2d Cir. 2007) (citation omitted).
        145

               781 F.2d 329 (2d Cir. 1986).
        146

               Id. at 332 n.2.

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evidence was admitted only for a limited purpose, then the additional material should be similarly

limited.”147 Thus, “[w]here the first document is introduced not as substantive evidence but only to

impeach credibility, the document offered for completeness would seem to be appropriately

introduced also not as substantive evidence but only to rehabilitate credibility.”148 Logically it may

well follow that where the original evidence was admitted for the truth, as is the case here, the Rule

106 evidence similarly would be admitted for the truth. Indeed, the Second Circuit in Johnson stated

that “even though a statement may be hearsay,” an omitted portion may be put in evidence where

necessary.149

                Phoenix Assocs. III v. Stone,150 and United States Football League v. National

Football League,151 however, suggest a different conclusion. They hold that “Rule 106 ‘does not

compel admission of otherwise inadmissible hearsay evidence. . . .’”152 Accordingly, Rule 106 does

not support Chevron’s contention that the Beltman and Maest declarations are admissible for their

truth.




         147

                Id.
         148

                Id.
         149

                Johnson, 507 F.3d at 796.
         150

                60 F.3d 95 (2d Cir. 1995).
         151

                842 F.2d 1335 (2d Cir. 1988).
         152

                Phoenix Assocs., 60 F.3d at 103 (quoting United States Football League, 842 F.2d at
                1375-76).

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       B.      Credibility – Rule 806

               Chevron relies also on Rule 806 as an alternative basis for admissibility. The rule

provides:

               “When a hearsay statement . . . has been admitted in evidence, the declarant’s
               credibility may be attacked, and then supported, by any evidence that would be
               admissible for those purposes if the declarant had testified as a witness. The court
               may admit evidence of the declarant’s inconsistent statement or conduct, regardless
               of when it occurred or whether the declarant had an opportunity to explain or deny
               it.”153

               A deposition is a hearsay statement.154 The declarations therefore are admissible for

the purpose of impeaching Beltman and Maest’s credibility to the extent they are inconsistent with

their deposition testimony to the same extent it would be admissible “if the declarant had testified

as a witness.”155 “To be inconsistent, statements ‘need not be diametrically opposed.’ The

inconsistency requirement is satisfied ‘if there is any variance between the statement and the

testimony that has a reasonable bearing on credibility.’”156



       C.      Residual Hearsay – Rule 807

               Chevron contends also that the Beltman and Maest declarations should be received

for the truth of the matters asserted under the residual hearsay exception. The rule does not provide



       153

               FED. R. EVID. 806.
       154

               See D’Cunha v. Genovese/Eckerd Corp., 415 F. App’x 275, 278 (2d Cir. 2011); Vaughn
               v. Willis, 853 F.2d 1372, 1379 (7th Cir. 1988).
       155

               FED. R. EVID. 806.
       156

               United States v. Preldakaj, 456 F. App’x 56, 58 (2d Cir. 2012) (citation omitted).

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a sound basis for admitting the declarations.

               Some of the Rule 807 criteria are satisfied here. In the last analysis, however, it

declines to receive them under the residual exception. Given the divergence between what these

witnesses said under oath at their depositions and what they said under oath in the declarations, one

is hard pressed to say that either is trustworthy. Even more to the point, Chevron knowingly agreed

to the receipt of the declarations for non-hearsay purposes only in exchange for defendants’

agreement not to cross-examine Dr. Lipton. While the Court recognizes that Chevron may have

regarded defendants’ subsequent designation of the Beltman and Maest deposition testimony as a

breach of the spirit of the agreement, a view upon which it expresses no opinion, it is questionable

whether Chevron thus was free to offer the declarations for their truth. Moreover, Beltman and

Maest were obliged by their settlement agreements to testify at trial at Chevron’s request, so

Chevron could have called them live in any case. In all the circumstances, the right course is to

leave the parties where their mid-trial stipulation put them – the defendants had the deposition

testimony in evidence for what it was worth given the impeachment provided by the declarations.

                                                *   *   *

               Accordingly, PX 5208 and PX 5210 are in evidence for impeachment purposes to the

extent inconsistent with these witnesses’ deposition testimony. In all the circumstances, the Court

has disregarded as untrustworthy and unreliable all of the deposition testimony of Beltman and

Maest, except to whatever extent it is relied upon specifically in this opinion. The Court has

considered and rejected Chevron’s other contentions on this point.




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IV.    Missing Witness Inferences

               Each side contends that the Court should draw inferences unfavorable to its adversary

or adversaries from the latter’s failure to call certain witnesses. Defendants argue that such

inferences are appropriate with respect to Chevron’s failure to call Beltman, Maest, and Calmbacher.

Chevron argues that such inferences are appropriate with respect to defendants’ failure to call

Fajardo, Yanza, Sáenz, and Prieto.157



       A.      The Legal Standard

               “A missing witness charge permitting the jury to infer that the testimony of an

unproduced witness would have favored one party is appropriate if production of the witness is

‘peculiarly within [the] power’ of the other party.”158 Such an inference is equally permissible in

bench trials.159 Hence, where one party alone could produce a material witness but fails to do so,

an inference that the testimony would favor the opposing party may be appropriate. Such an

inference is warranted also where a party to the action is, in effect, a missing witness.160 By parity


       157

               It so argues also with respect to the failure to call Centeno, Tarco and Calva. While much
               ink could be spilled concerning whether such inferences would be appropriate, the Court
               in the exercise of discretion declines to draw them. Accordingly, these absentees need not
               be discussed further.
       158

               United States v. Rabbani, 382 F. App’x 39, 41 (2d Cir. 2010).
       159

               See Adelson v. Hananel, 652 F.3d 75, 87 (1st Cir. 2011).
       160

               Gray v. Great Am. Recreation Ass’n, Inc., 970 F.2d 1081, 1082 (2d Cir. 1992) (“The non-
               appearance of a litigant at the trial or his failure to testify as to facts material to his case and
               as to which he has especially full knowledge creates an inference that he refrained from
               appearing or testifying because the truth, if made to appear, would not aid his contention.”
               (quoting United States v. Fields, 102 F.2d 535, 537-38 (8th Cir. 1939)).

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of reasoning, an adverse inference may be appropriate based on the failure to testify of someone

closely allied with or related to a party, such as an employee.161 In the event that a witness is

available equally to both sides, “the failure to produce is open to an inference against both parties”162

or neither party.163 Where the missing witness’s testimony would be cumulative, however, the

inference is not available.164

                In determining whether a witness is uniquely available to an adverse party, courts in

this circuit consider whether that witness is available to the party seeking the adverse inference,165

as the availability of the witness to an opposing party makes an adverse inference against the party

with the closer relationship to the witness less appropriate. An adverse inference is not warranted,

for example, where the controlling or related party makes the missing witness available to its

opponent, the party seeking the adverse inference equally could obtain the missing witness’s

testimony, or the party seeking the adverse inference made no attempt to obtain the witness’s



        161

                Although the prototypical missing witness case involves government informants or
                employer/employee relationships, Deler v. Commodore Cruise Line, 92 CIV. 4473 (SHS),
                1995 WL 733655, at *5 (S.D.N.Y. Dec. 12, 1995) (citing United States v. Mittelstaedt, 31
                F.3d 1208, 1215-16 (2d Cir. 1994)); see also United States v. Carter, 07-5756-CR, 2009 WL
                765004, at *3 (2d Cir. Mar. 25, 2009), other types of close relationships also afford a basis
                for determining that a witness is peculiarly within one party’s power. E.g., Fey v. Walston
                & Co., Inc., 493 F.2d 1036, 1053 (7th Cir. 1974) (failure to call party’s son); Gaw v. C.I.R.,
                70 T.C.M. (CCH) 1196 (T.C. 1995), aff’d, 111 F.3d 962 (D.C. Cir. 1997) (failure to call
                mother-in-law).
        162

                United States v. Nichols, 912 F.2d 598, 601 (2d Cir. 1990) (citations and emphasis omitted).
        163

                E.g., Deler,1995 WL 733655, at *5.
        164

                See United States v. Torres, 845 F.2d 1165, 1169 (2d Cir. 1988).
        165

                See Nichols, 912 F.2d at 602.

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testimony.166 Such a rule prevents a party from manipulating the system by choosing not to call a

witness while claiming that the witness’s testimony would be favorable.                 The availability

determination rests on “all the facts and circumstances bearing upon the witness’s relation to the

parties.”167



        B.     Defendants’ Absentees

               Fajardo, Yanza, Sáenz, and Prieto all are Ecuadorian “local counsel” who work under

Donziger’s supervision and whose compensation often has come through and been influenced or

determined by Donziger.168 Donziger has close personal relationships at least with Fajardo and

Yanza. Fajardo holds a power of attorney from all of the LAPs, is their counsel of record in the

Ecuadorian courts, and was instrumental in arranging for the testimony or, in some cases, anticipated

testimony of other Ecuadorian witnesses on the LAPs’ behalf.169 Yanza is the case “coordinator”



        166

               See id.
        167

               Id. (citation omitted).
        168

               See PX 4900R (Dahlberg Direct) ¶ 75; see supra Facts § II.C.1; PX 2396R (Donziger RFA
               Responses), at 21-28.
        169

               See, e.g., Tr. (H. Piaguaje) 2704:6-8 (“Q. Did Mr. Fajardo tell you that you had to come
               to New York to testify? A. Yes.”), 2685:11-14 (“Q. Did Mr. Fajardo assist you in
               selecting which of the asamblea minutes to produce? A. The most important ones which
               we believed that we had to produce, yes.”); Tr. (Moncayo) 2075:22-23 (“Q. And Mr.
               Fajardo helped you draft [your witness statement], correct? A. To write it, yes.”), 2081:13-
               22 (testifying that Fajardo contacted Calva’s father to discuss her testifying in New York),
               2099:11-13 (“Q. Did Pablo Fajardo ask you to speak to or send you to speak to any other
               people who were coming up to New York to testify? A. Just with Ms. Calva.”); Tr. (J.
               Piaguaje) 2404:2-10 (testifying that he discussed with Fajardo his coming to New York to
               testify).

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for them. Sáenz submitted a declaration on the LAPs’ behalf earlier in this case.170 Fajardo, Yanza,

and Sáenz all traveled to the United States in connection with the Lago Agrio case when they

thought it expedient.171 Fajardo has a large contingent fee interest in the Judgment.

               Given the relationships between each of the defendants and these four individuals172

and their obvious possession of material, non-cumulative information going to the heart of the case,

the defendants’ failure to produce them warrants, and the Court draws, an inference that the

testimony of each of Fajardo, Yanza, Sáenz, and Prieto would have been adverse to defendants had

they testified. The Court emphasizes, however, that it would have made the same findings in the

absence of those inferences.




       170

               DI 152-155 (Sáenz Decls.).
       171

               See PX 5600 (Kohn Direct) ¶¶ 18, 51, 66; PX 1406 (Aug. 9, 2010 Ltr. from J. Kohn to P.
               Fajardo and others), at 3.
       172

               “[W]here an employee who could give important testimony relative to issues in litigation is
               not present and his absence is unaccounted for by his employer, who is a party to the action,
               the presumption arises that the testimony of such employee would be unfavorable to his
               employer.” Chicago Coll. of Osteopathic Med. v. George A. Fuller Co., 719 F.2d 1335,
               1353 (7th Cir. 1983) (citation omitted). Other types of close relationships render a witness
               “peculiarly within one party’s power” also. For example, the Tax Court in Gaw v. C.I.R.,
               70 T.C.M. (CCH) 1196 (T.C. 1995), aff’d, 111 F.3d 962 (D.C. Cir. 1997), drew an adverse
               inference against defendant for his failure to offer the testimony of his mother-in-law, who
               possessed material information and was beyond the court’s subpoena power because the
               defendant and the mother-in-law shared “close and amicable business and family
               relationships prior to and during the years at issue.” Id. at *24 & n.45. The Seventh Circuit
               similarly held that an adverse inference instruction was appropriate where the defendant
               “testified in effect that her son [who possessed material information] was available to her as
               a witness; yet he was beyond the subpoena power of the defendants.” Fey v. Walston & Co.,
               Inc., 493 F.2d 1036, 1053 (7th Cir. 1974).

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        C.      Plaintiff’s Absentees

                Defendants seek to have the Court draw adverse inferences from Chevron’s failure

to call Beltman, Maest, and Calmbacher.

                Chevron’s settlement agreement with Stratus, Beltman, and Maest required Beltman

and Maest to testify at trial if so requested by Chevron. Chevron included them on its witness list

but ultimately did not call them either on its direct case or, once it stipulated with the defendants that

their witness statements would be received for non-hearsay purposes in exchange for a waiver of

cross-examination by defendants of Stratus’ Dr. Lipton, on its rebuttal case.

                There is no question that Beltman and Maest were available to Chevron by reason

of the settlement agreements. Nor is there any question that both were beyond the geographical

bounds of the Court’s subpoena power. Nevertheless, the Court declines to draw an adverse

inference from their absence for several reasons.

                Beltman and Maest settled with Chevron in March 2013.173 Their declarations were

filed in April 2013,174 long before the close of the discovery period. Defendants thus were well

aware of Beltman’s and Maest’s quite revised accounts and could have deposed them. But

defendants elected not to do so. That alone is sufficient to preclude or, in the exercise of discretion,

to decline to draw any adverse inference. A witness is not unavailable to a party that fails to make

any effort to seek his or her testimony.175 Moreover, defendants agreed at trial to the receipt of the

Beltman and Maest declarations for non-hearsay purposes. Only afterward did they offer their 2010

        173

                See, e.g., DI 934-1 (Settlement and Mutual Release).
        174

                DI 1007-1 (Stavers Decl. Apr. 12, 2013), at Exs. 3652-3653.
        175

                See Mittelstaedt, 31 F.3d at 1215-16.

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Section 1782 depositions for the truth of the statements they then had made, this despite the fact that

Beltman and Maest subsequently had recanted much of what they had said in 2010. An adverse

inference against Chevron in these circumstances would be neither logical nor just and would risk

rewarding gamesmanship.176

             Although Calmbacher is not Chevron’s agent or employee and was not contractually

bound to testify, Chevron included his name on its witness list and by all appearances intended to

have him testify, which implies that it could have produced him as a witness. However, as was the

case with Beltman and Maest, defendants elected not to take Calmbacher’s deposition. They made

that election notwithstanding that they were quite aware of the nature of his deposition testimony

that Chevron offered at trial. Thus, for the reasons discussed above, defendants cannot now claim

a benefit from Calmbacher’s failure to testify.




       176

                 See United States v. Carter, No. 07-5756-CR, 2009 WL 765004, at *3 (2d Cir. Mar. 25,
                 2009).

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                                 Appendix VI – The Trial Record

Exhibits

               A complete list of plaintiff’s exhibits was marked as Court Exhibit F.177 A complete

list of defendants’ exhibits was marked as Court Exhibit D, modified by the Court’s February 25,

2014 order.178 Except to the extent specific exhibits were received or objections sustained during

trial or by other orders, all of the exhibits were received subject to the adversary’s objections.179

Some of those objections are ruled upon in this opinion and appendices, many specifically and some

by category. Nevertheless, given the volume of exhibits that were provisionally received subject

to objections, the Court has not ruled specifically on every objection.

               To the extent the Court has relied in this opinion or appendices on exhibits that were

objected to, it has overruled the objections. To the extent the Court has not so relied, it should be

understood either as having sustained or not ruled on the remaining objections in view of the

apparent lack of materiality of the exhibits.

               A number of other matters concerning the record warrant explanation.



Direct Testimony

               Each party submitted the direct testimony of its witnesses – with the exception of

Nicolás Zambrano, Jeffrey Shinder, and to some extent Alberto Guerra – in the form of written

declarations (“Witness Statements”). Portions of every Witness Statement were objected to.

       177

               DI 1871 (Feb. 20, 2014 Order), Ex. 1.
       178

               DI 1872 (Feb. 24, 2014 Order); DI 1873 (Feb 25, 2014 Order).
       179

               DI 1872 (Feb. 24, 2014 Order), Ex. 2.

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               The Court ruled from the bench on some of these objections.                   It issued

comprehensive orders ruling on the objections to the Witness Statements of Steven Donziger and

Karen Hinton.180 It received other Witness Statements subject to objection. To the extent the Court

has relied in the opinion or appendices on portions of those Witness Statements that were objected

to, it has overruled the objections. To the extent it has not so relied, it either has sustained or not

ruled on the objections in view of the apparent immateriality of the evidence in question.



Deposition Designations

               Each party designated portions of depositions taken in this action and certain related

Section 1782 proceedings. Many of these designations were the subject of objections. To the extent

the Court has relied in the opinion or appendices on deposition testimony to which objections were

made, it has overruled the objections. To the extent it has not so relied, it either has sustained the

objections or not otherwise ruled on them.



Spanish Language Documents

               Many of defendants’ trial exhibits are in Spanish, in whole or in part, and were placed

in the record en masse, without English translations, and received, along with many other exhibits,

subject to objections. Chevron objected to a great many on the ground, among others, that

defendants provided translations of none or only parts of the documents.

               On December 2, 2013, the Court directed (1) Chevron to provide a list of defendants’

exhibits to which the aforementioned objection was made, and (2) defendants to show cause why


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               DI 1742 (Nov. 18, 2013 Order), DI 1713 (Nov. 12, 2013 Order).

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the Spanish language exhibits (including any exhibits that are partly in Spanish) submitted without

complete English translations should not be excluded.181

                In response to the Court’s order, defendants “ask[ed] that [the Court] exercise its

discretion and not strike the Spanish language exhibits [defendants] have offered, and give

defendants the opportunity to submit translations of these exhibits if future briefing . . . make[s]

them relevant and material.”182 The Court on December 13, 2013 struck all exhibits that are entirely

or partly in Spanish “except to the extent that defendants, no later than the date on which their reply

to Chevron’s post-trial brief is due, identif[y] each such document on which [they] rel[y] and

provide[] Chevron and the Court with complete, certified English translations of the Spanish

language content of each.”183 Defendants filed their reply briefs on January 21, 2014. They neither

identified any Spanish language documents upon which they relied nor provided the required

translations.

                Chevron and Donziger then filed a stipulation agreeing to a list of defendants’

exhibits that “are entirely or partly in Spanish [for which] the Defendants have not provided

Chevron or the Court with complete, certified English translations of the Spanish language content

. . . .”184 The LAP Representatives “d[id] not dispute that the exhibits listed in the Stipulation . . .

are entirely or partly in Spanish,” but asked that the Court require Chevron to submit any

translations it had of such documents “prior to ordering any remaining exhibits stricken from the

       181

                DI 1771 (Dec. 2, 2013 Order).
       182

                DI 1828 (Defs. Br.), at 2.
       183

                DI 1830 (Dec. 13, 2013 Order), at 3.
       184

                DI 1864 (Stipulation), at 2.

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record of these proceedings.”185

                The Court declines to shift to Chevron the burden of submitting English language

translation of defendants’ exhibits, particularly in light of the defendants’ failure to identify specific

Spanish language documents upon which they relied. Defendants filed their proposed pretrial order

on August 31, 2013, which included most if not all of the Spanish language documents now in

question.186 They had five months after the filing of their proposed pretrial order in which to provide

translations for those documents and one month after the Court ordered them to do so. They have

declined. The exhibits identified at pages 2-3 of DI 1864, Exhibit 1 were, and remain, stricken

pursuant to the Court’s December 13, 2013 order.



Donziger’s Improperly Amended Exhibit List

                Donziger moved on September 13, 2013 to amend his trial exhibit list.187 He sought

to add 27 exhibits to the list identified on his proposed pretrial order, fifteen of which (DX 1094-

1108) were described as entire websites. The Court denied the motion with respect to those

exhibits.188 In contravention of that order, Donziger included certain of these exhibits in the mass

offer of exhibits, subject to objection.189


        185

                DI 1865 (Notice re: Defs. Exhibits).
        186

                See DI 1377 (Defs. Proposed Pretrial Order), Exs. 1 & 2.
        187

                DI 1431 (Donziger Defs. Mot.).
        188

                DI 1539 (Oct. 11, 2013 Order).
        189

                See DI 1872 (Court Exhibit D), Ex. 2 at 171-172, 181.


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               Two of those exhibits appear to be pages from a Chevron web site, which the Court

will allow to remain in the record in view of their apparent authenticity.190 The remainder all appear

to be press releases or other materials prepared by the defendants which, to the extent offered for

the truth of the matters asserted, are hearsay. They all are stricken.191




               The exhibits in question are DX 1094, DX 1096, DX 1099-1101, DX 1102A through DX
               1102-T and DX 1106.
       190

               DX 1094; DX 1096.
       191

               DX 1099-1101; DX 1102A through DX 1102-T and DX 1106.

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